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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
KENNETH M. RUBIN,                      :
                                       :
                         Plaintiff,    :              20cv3068 (DLC)
                                       :
               -v-                     :                 ORDER OF
                                       :              DISCONTINUANCE
MOTIVATE DESIGN LLC and MONA PATEL,    :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     It having been reported to this Court that this case has

been settled, it is hereby

     ORDERED that the above-captioned action is discontinued

without costs to any party and without prejudice to restoring

the action to this Court’s calendar if the application to

restore the action is made by January 28, 2021.        If no such

application is made by that date, today’s dismissal of the
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action is with prejudice.        See Muze, Inc. v. Digital On Demand,

Inc., 356 F.3d 492, 494 n.1 (2d Cir. 2004).

Dated:       New York, New York
             December 29, 2020


                                    __________________________________
                                              DENISE COTE
                                      United States District Judge




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